






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00383-CR


NO. 03-08-00384-CR


NO. 03-08-00385-CR






Tony Ramirez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT


NOS. CR-91-248, CR-05-672 &amp; CR-92-040


HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Tony Ramirez seeks to appeal orders of the Texas Court of Criminal Appeals
denying&nbsp;or dismissing his post-conviction applications for writ of habeas corpus in these causes. 
See&nbsp;Tex.&nbsp;Code Crim. Proc. Ann. art. 11.07 (West Supp. 2007).

Article 11.07 establishes the exclusive procedure by which a person in custody
following a felony conviction may seek relief from a felony judgment imposing a penalty other than
death.  Id. §§ 1, 5.  Article 11.07 does not provide for an appeal from the court of criminal appeals's
denial of relief.  Moreover, this Court's appellate jurisdiction does not extend to the judgments,
orders, and rulings of the court of criminal appeals.  See Tex. Const. art. V, § 6; Tex. Code Crim.
Proc. Ann. art. 4.03 (West 2005).


The appeals are dismissed for want of jurisdiction.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   July 18, 2008

Do Not Publish


